SO CO “PF RH Oh BB & Bw HY

Pa pm amma
sa BH OO FSF WS w S| &

18

Case: 3:10-cv-01914-JZ Doc #: 162 Filed: 08/11/11 1of 4. PagelD #: 5212

William M. Paoh, Esq. (SB No. 163759)

Clarice J. Letizia, Esq. (SB No. 129331)
WENTWORTH, PAOLI & PURDY, LLP

4631 Teller Avenue, Suite 100

Newport Beach, CA 92660

(949) 752-7711/(949) 752-8339 - Fax
cletizia@ewpptrialawvers.com

Attorneys for Plaintiffs, MARCUS R. WHITTEN,
an individual, JILL COX, an individual, and
CASEY GIBSON, an individual, on their own behalf
and on behalf of all others similarly situated, and on
behalf of the general public

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

MARCUS R. WHITTEN, an individual, CASE NO: 3:10-CV-01914-JZ
ELSIE PARKER, an individual, JILL COX,
an individual, CASEY GIBSON, an

individual, on their own behalf and on PLAINTIFFS’ OBJECTION TO NOTICE OF
behalf of all others similarly situated, and DEPOSITION OF PLAINTIFFS’ EXPERT
on behalf of the general public, HOSSEIN BORHANT, PHD

Plaintiffs,
VS.

RIGHTTHING, LLC., a foreign
corporation, TERRY TERHARK, an
individual, AIRS HUMAN CAPITAL
SOLUTIONS, LLC, a foreign corporation,

Defendants,

Plaintiffs hereby object to the Notice of Deposition of Plaintiffs’ Expert, unilaterally
noticed by defendant for August 18, 2011. Plaintiffs’ expert will not be produced for deposition on
that date, or on any date prior to the date on which the data subpoenaed from Schedule Source is
provided.

As defendant is well aware, defendant has withheld the data that plaintiffs’ expert needs

to complete his expert analysis. Therefore, plaintiffs had to subpoena the information directly from

]

PLAINTIFFS’ OBJECTION TO NOTICE OF DEPOSITION OF EXPERT, HOSSEIN BGRHANI, PHD

Ce Oo 6 SDR A RB BH Re

—

1]

Case: 3:10-cv-01914-JZ Doc #: 162 Filed: 08/11/11 2 of 4. PagelD #: 5213

Schedule Source, and the data will not be provided by Schedule Source until after August 18 2011.
Therefore, plaintiffs’ expert will not have completed his analysis on August 18, 2011, the noticed
date, and plaintiffs have sought direction from the magistrate on how to proceed.
DATE: August 11, 2011 Respectfully submitted,

WENTWORTH, PAOLI & PURDY, LLP

cy
ev: Cla 1 AS ti be

Cy? LET] my a

2

PLAINTIFFS’? OBJECTION TO NOTICE OF DEPOSITION OF EXPERT, HOSSEIN BORHANI, PHD

ho

Co OS Oo “SDN th BRB OW

peel

Case: 3:10-cv-01914-JZ Doc #: 162 Filed: 08/11/11 3o0f 4. PagelD #: 5214

PROOF OF SERVICE
STATE OF CALIFORNIA )
)
COUNTY OF ORANGE )

lam employed in the County of Orange, State of California. ] am over the age of 18 years
and am not a party to the within action; my business address is 4631 Teller Avenue, Suite 100,
Newport Beach, California, 92660.

On August 11, 2011, I served the foregoing document described as PLAINTIFFS’
OBJECTION TO NOTICE OF DEPOSITION OF PLAINTIFFS’ EXPERT HOSSEIN BORHANI,
PHD on all parties in this action by placing a true copy thereof enclosed in a sealed envelope
addressed as follows:

SEE ATTACHED SERVICE LIST

o BY MAIL: I am readily familiar with the firm's practice of collection and processing
correspondence for mailing. Under that practice it would be deposited with U.S. Postal Service on
the same day with postage thereon fully prepaid at Newport Beach, California in the ordinary course
of business. I am aware that on motion of the party served, service is presumed invalid if postage
cancellation date or postage meter date is more than one day after the date of deposit for mailing in
aifidavit.

Oo BY PERSONAL SERVICE: I caused such envelope to be delivered by hand to the offices
of the addressees.

Oo BY OVERNIGHT COURIER I caused the envelope, with delivery charges prepaid, to be
sent by as indicated on the attached Service List.

o VIA FACSIMILE: | forwarded a true and correct copy of the above-described documents
to the parties named in the service list via the facsimile numbers listed herein.

a VIA ELECTRONIC MAIL: By causing the foregoing document to be served electronically
by electronically mailing a true and correct copy through Wentworth, Paoli & Purdy's electronic mail
system to the e-mail address(es), as stated in the attached service list, and the transmission was
reported as complete and no error was reported.

Executed August 11, 2011, at Newport Beach, California.

o (STATE) | declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

5 (FEDERAL) I declare that I am employed in the office of member of the bar of this court
at whose direction the service was made.

SO CO “SP RH Oh BR HH BR He

Bei
wWoN eB PT oO eo Ss DR A BR Be BB Ke S

24

Case: 3:10-cv-01914-JZ Doc #: 162 Filed: 08/11/11 4o0f 4. PagelD #: 5215

SERVICE LIST
WHIPETEN, et al. v. RIGHTTHING., et al.
U.S.D.C, Case No.: 3:10-CV-01914-JZ

Attorneys for Defendants,
THE RIGHT THING, LLC
and TERRY TERHARK

Alice 8. Wang, Esq.

Timothy J. Murphy, Esq.

Fisher & Phillips LLP

One Embarcadero Center, Suite 2340
San Francisco, CA 94111
awange(wlaborlawvers.com
imurphy@laborlawyers.com

Richard A. Millisor, Esq.
Millisor & Nobil Co. L.P.A.
9150 South Hills Boulevard
Suite 300

Cleveland, OH 44147

mmillisor@miullisor.com

